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                           United States District Court
                                  EASTERN DISTRICT OF TEXAS
                                      SHERMAN DIVISION

  UNITED STATES OF AMERICA                       §
                                                 §
  v.
                                                 § CRIMINAL NO. 4:16-CR-122-ALM-CAN-1
                                                 §
  KENDRICK JEREMIAH YOUNG                        §

                  MEMORANDUM ADOPTING REPORT AND
           RECOMMENDATION OF UNITED STATES MAGISTRATE JUDGE

        Came on for consideration the report of the United States Magistrate Judge in this action,

 this matter having been heretofore referred to the Magistrate Judge pursuant to 28 U.S.C. § 636.

 On November 1, 2021, the Magistrate Judge entered proposed findings of fact and

 recommendations (Dkt. #199) that Defendant be committed to the custody of the Bureau of Prisons

 to be imprisoned for a term of ten (10) months, to run consecutively from any sentence imposed

 upon Defendant by the State of Texas and concurrently with Defendant’s supervised release as to

 counts 1 and 2, followed by an additional twenty-four (24) months of supervised release under the

 same conditions previously imposed.

        Having received the Report of the United States Magistrate Judge and having received

 Defendant’s waiver of his right to object to the proposed findings and recommendations of the

 Magistrate Judge (Dkt. #198), the Court is of the opinion that the findings and conclusions of the

 Magistrate Judge are correct and adopts the Magistrate Judge’s report as the findings and

 conclusions of the Court. Accordingly, Defendant is hereby committed to the custody of the

 Bureau of Prisons to be imprisoned for a term of ten (10) months, to run consecutively from any

 sentence imposed upon Defendant by the State of Texas and concurrently with Defendant’s

 supervised release as to counts 1 and 2, followed by an additional twenty-four (24) months of

 supervised release under the same conditions previously imposed.
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 SIGNED this 10th day of November, 2021.




                           ___________________________________
                           AMOS L. MAZZANT
                           UNITED STATES DISTRICT JUDGE




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